           Case 3:21-cv-06489-EMC Document 36 Filed 02/23/22 Page 1 of 1




 1
 2
 3
 4
 5
 6
 7
 8                                    UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA

10 MARION WILLIAMS, on behalf of himself and Case No. 3:21-cv-06489-EMC
     all others similarly situated,
11                                                    [PROPOSED] ORDER GRANTING STAY
                     Plaintiff,                       PENDING ARBITRATION
12
             vs.
13
     UDEMY, INC., a Delaware Limited Liability
14 Company, and DOES 1- 50, inclusive,
15                   Defendants.

16
17           On November 13, 2021, Defendant filed a motion to compel this action to arbitration. Having

18 considered the motion, Plaintiff’s statement of non-opposition thereto, and good cause appearing, the
19 Court hereby STAYS this action pending the outcome of the arbitration.
20           IT IS SO ORDERED.

21
22 Dated: 2/23/2022
                                                              HON. EDWARD M. CHEN
23                                                        UNITED STATES DISTRICT JUDGE
24
25
26
27
28

                                                     1
                       [PROPOSED] ORDER GRANTING STAY PENDING ARBITRATION
